 Case 1:22-cv-07499-BMC Document 15 Filed 02/22/23 Page 1 of 3 PageID #: 353




THE ROSEN LAW FIRM, P.A.
Phillip Kim, Esq. (PK 9384)
Laurence M. Rosen, Esq. (LR 5733)
275 Madison Avenue, 40th Floor
New York, New York 10016
Telephone: (212) 686-1060
Fax: (212) 202-3827
Email: pkim@rosenlegal.com
Email: lrosen@rosenlegal.com

Counsel for Piero Crivellaro

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK



PIERO CRIVELLARO, Individually and on behalf of               CASE No.: 1:22-cv-07499-BMC
all others similarly situated,
                                         NOTICE OF WITHDRAWAL OF
               Plaintiff,                MOTION OF PIERO
                                         CRIVELLARO TO APPOINT LEAD
            v.                           PLAINTIFF AND APPROVE LEAD
                                         PLAINTIFF’S SELECTION OF
SINGULARITY FUTURE TECHNOLOGY, LTD. COUNSEL (DKT. NO. 8)
F/K/A SINO-GLOBAL SHIPPING AMERICA LTD.,
YANG JIE, LEI CAO, ZHIKANG HUANG, TUO CLASS ACTION
PAN, XIAOHUAN HUANG, JING SHAN, TIELING
LIU, JING WANG, AND LEI NIE,

               Defendants.



        Movant Piero Crivellaro (“Movant”) hereby withdraws his motion to appoint Lead

Plaintiff and approve of Lead Plaintiff’s selection of counsel (Dkt. No. 8). Having reviewed the

competing motions filed in the action, Movant does not appear to have the largest financial

interest.

        This withdrawal shall have no impact on Movant’s membership in the proposed class,

Movant’s right to share in any recovery obtained for the benefit of class members, and Movant’s

ability to serve as a representative party should the need arise.


                                                  1
 Case 1:22-cv-07499-BMC Document 15 Filed 02/22/23 Page 2 of 3 PageID #: 354




Dated: February 22, 2023           Respectfully submitted,

                                   THE ROSEN LAW FIRM, P.A.

                                   /s/ Phillip Kim
                                   Phillip Kim, Esq. (PK 9384)
                                   Laurence M. Rosen, Esq. (LR 5733)
                                   275 Madison Avenue, 40th Floor
                                   New York, New York 10016
                                   Telephone: (212) 686-1060
                                   Fax: (212) 202-3827
                                   Email: pkim@rosenlegal.com
                                   Email: lrosen@rosenlegal.com

                                   Counsel for Piero Crivellaro




                                      2
 Case 1:22-cv-07499-BMC Document 15 Filed 02/22/23 Page 3 of 3 PageID #: 355




                             CERTIFICATE OF SERVICE

      I hereby certify that on February 22, 2023, a true and correct copy of the foregoing
document was served by CM/ECF to the parties registered to the Court’s CM/ECF system.

                                  /s/Phillip Kim




                                            3
